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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

D’AMICO DRY LIMITED, §
: §
Plaintiff, §
§

v. § C.A. No. 4:15-CV-0039

§ ADMIRALTY

PASHA FINANCE, INC. §
As owners of the M/T CAPE TALARA, §
§
Defendant. §

ORDER VACATING ATTACHMENT

Before the Court is the defendant, Pasha Finance, Inc.’s motion to vacate the maritime
Rule B attachment filed in the above-captioned matter and Order of attachment dated January 9,
2015 (Doc No. 3), After having reviewed the motion and otherwise being fully advised, the
Court is of the opinion that the motion is well-taken and should be granted.

It is therefore, ORDERED that the motion to vacate the maritime Rule B attechment filed
in the above-captioned matter is GRANTED, and the attachment of the M/T CAPE TALARA is
hereby vacated.

ItissoORDERED.  _

SIGNED on this lay of January, 2015.

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Keith Exlison
United States District Judge

 
